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 Appendix B — Descriptive Quotation and Passages
 Collection of Articles and Quoted Passages about Kentucky Colonels
 from Books and Magazines in Commentary and Conclusion

 Abstract:

 Appendix B is a curated anthology of over 70 literary and journalistic references to the term Kentucky

 Colonel, extracted from a wide range of books, magazines, newspapers, periodicals, and historical

 reviews spanning from the late 19th century through the mid-20th century. The entries collectively

 examine, mock, romanticize, and critique the evolving cultural figure of the “Kentucky Colonel” within

 American consciousness. The appendix functions as a documentary evidentiary exhibit to demonstrate

 how the term was consistently understood as a literary stereotype, satirical figure, honorary title, and

 social caricature, not as a formal organizational or militaristic designation. This establishes the figure

 as part of the public domain and folkloric lexicon, well before any modern commercial or institutional

 usage.


 Content Summary:

    ●​ The appendix opens with a table of contents listing themed articles and publication excerpts
       where the Kentucky Colonel appears, often symbolizing southern gallantry, eccentricity,
       satire, and status obsession.

    ●​ Key topics and motifs include:

            ○​ Romanticized portrayals of Southern life and gentlemanly conduct (e.g., mint juleps,
               burgoo, hospitality, honorifics).

            ○​ Satirical depictions in humor publications like Judge, Life, and Puck, mocking the
               honorary nature and self-importance of colonels.

            ○​ Critical reviews of literature and social customs, indicating how the Kentucky Colonel
               stereotype was crafted and adapted by external observers (e.g., English writers, theater
               critics).



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           ○​ Institutional and cultural references, such as in The Saturday Evening Post, The
              American Legion Monthly, Boys' Life, and Fortune, showing how the term pervaded
              Americana.

           ○​ Mockery of pseudo-militarism, noting colonels “never smelt powder” and obtained
              rank by birthright, purchase, or farce rather than by service.

           ○​ Political commentary and satire, often invoking Kentucky Colonels in critiques of
              Southern elitism, honorary rank inflation, and nostalgic myth-making.

   ●​ Numerous entries reflect contradictory perspectives: some celebrate the Kentucky Colonel as a
      nostalgic, chivalrous symbol of Southern identity, while others portray him as a comedic,
      pretentious figure divorced from military or civic legitimacy.

   ●​ Several entries explicitly refer to the overuse and commodification of the title, including:

           ○​ The mass commissioning of colonels by Kentucky governors.

           ○​ A failed effort to put colonels in khaki uniforms.

           ○​ References to the Kentucky Colonels Association and its defense of “traditional dress and
              decorum”.

   ●​ A particularly important entry critically assesses the pseudohistory promoted by the
      Honorable Order of Kentucky Colonels in the 1950s, falsely claiming a continuous tradition
      going back to Charles S. Todd.




Function of Appendix B:

This document is designed for court submission, academic publication, or legislative testimony,

showing how “Kentucky Colonel” was and remains an exonym, satire, or cultural symbol, embedded

in the public domain thereby undercutting any modern monopolistic or trademark claims by private

organizations. It reinforces arguments of historical misappropriation and fraudulent succession by

groups attempting to privatize or brand what has always been a public cultural expression.




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History of American Life
“Their natural self-esteem was thus unfortunately fed until military trappings and titles became objects
of gibes more deserved, possibly, than those directed against the once famous Kentucky colonel.”

Priestley, Herbert Ingram. A History of American Life: The Coming of the White Man, Vol. I. New
York: Macmillan, 1929.​
​
Source: https://archive.org/details/historyofamerica0000herb/page/196/mode/2up




American Institutions and Their Preservation
“The Kentuckian, like the Virginian and the New Englander, is an American type distinct from all
others. The ‘Kentucky Colonel’ is famous. And he has had a stormy history. Kentucky in colonial times
was so prolific of game—buffalo, elk, deer and bear, wild fowl, etc., as well as wild-cat, panther and
wolf—and was so attractive, that no Indian tribe was strong enough to take and hold it, and so various
tribes hunted over it spasmodically. It was known to the Indians as ‘the Dark and Bloody Ground’; also
as ‘the Middle Ground’ between the Five Nations (Iroquois) and the Cherokees. The great forests and
the rich grasses made it the favored land west of the Alleghenies.”

Cook, William W. American Institutions and Their Preservation. New York: 74 Trinity Place, 1929.

Source: https://archive.org/details/americaninstitut0001will/page/78/mode/2up




In Kentucky: Protest Against the Passing of an Old Southern Tradition

“In Kentucky there is a strong protest against the passing of an old southern tradition, the Kentucky
colonel. Not that the Kentucky colonel is becoming extinct. Quite the contrary, for there are over 1,000
colonels (and a score of admirals) now on the governor's staff. So many have been appointed—Governor
Sampson has commissioned almost 600 during his term and when he was out of the state for a couple of
days the lieutenant governor appointed thirty-six others and when both of them were out of the state, the
president pro tern of the Senate, acting governor, appointed nineteen more—that old liners are forming
the Kentucky Colonels' Association to bring back the days when a Kentucky colonel was proud and
deserving.”

Luce, Henry R., ed. “In Kentucky There Is a Strong Protest Against the Passing of an Old Southern
Tradition...” Fortune, vol. 4, August 1931, p. 14.


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American Legion
There Governor Sampson of Kentucky and Mayor and Legionnaire Harrison of Louisville uttered words
of welcome and made no promise of hospitality that was not trebly realized. There General Peyton C.
March, World War Chief of Staff, looking like a Kentucky colonel in his gray moustache and goatee,
and Admiral Hugh Rodman, who is a Kentucky colonel, honored the meeting with their presence and
their inspirational words.

The American Legion Monthly. Vol. 7, Iss. 6, December 1929.

Source: https://archive.org/details/sim_american-legion_1929-12_7_6/page/18/mode/2up




Also the Sport of Queens
Her mother would say, “‘ Now, Hollis, your nerves are on edge over the Derby.”’ Her father would draw
himself up like a Kentucky colonel—which he wasn't—and glance toward the portrait of Brigadier
General Maxwell B. Hollis, hanging there on the wall. Hollis wished the general could be present to hear
it. Oh, she'd tell them a thing or two; her dear maternal grandfather included. Sacrilegiously, she hoped
her words would carry to that bluegrass paradise where, according to the speculations of her childhood,
the general sat in the members’ stand, clocking the shades of Derby winners.

Brennan, Frederick Hazlitt. “Also the Sport of Queens.” The Saturday Evening Post, Vol. 202, Iss. 8,
August 24, 1929.

Source: https://archive.org/details/sim_saturday-evening-post_1929-08-24_202_8/page/14/mode/2up




Train Freight Line Locomotive
AMERICAN tradition boasts no more picturesque figure than the Kentucky colonel, exemplar of
chivalry and hospitality and connoisseur par excellence of the devastating “cuss word.”

The colonel’s native heath is the great “blue grass’ region of Kentucky, celebrated alike for its horses,
the historic Derby, and the late lamented mint julep.

So it is only fitting that a freight train traveling daily to Louisville should be known as “The Colonel.”
And that is the name of the big Pennsylvania carrier that takes a daily cargo of merchandise from
Chicago to and through the Louisville gateway.


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The Nation's Business. “Freight Line Known as ‘The Colonel.’” Vol. 16, Iss. 4, April 1928..
(Advertisement)

Source: https://archive.org/details/sim_nations-business_1928-04_16_4/page/156/mode/2up




Damrosch Honored in Memorable Concert
Incidentally, the wit with which he punctuated his remarks recalled the story of the Kentucky Colonel
who was once asked where he got the title of colonel. “I inherited it, Sir,” he replied, “from my wife’s
first husband.” Mr. Gabrilowitsch has manifestly inherited a good deal of humor from his celebrated
father-in-law.

Musical Courier. “Damrosch Honored in Memorable Concert.” Vol. 94, Iss. 12, March 24, 1927. p. 21

Source: https://archive.org/details/sim_music-magazine-and-musical-courier/page/20/mode/2up




Boy Scouts Magazine
The Kentucky Colonel shoots one. Here is Willie Harper, of Bevier, Ky., winning the Marble
championship.

Boys' Life. “Boys Who Are Earning Distinction.” Vol. 16, Iss. 9, September 1926.

Source: https://archive.org/details/sim_boys-life_1926-09_16_9/page/24/mode/2up




Honor - Saturday Evening Post
My Uncle Clay used to say that he wasn’t a real Kentucky colonel, as he pretended to be, but probably
only the son of a Cincinnati barber who had seen a real Kentucky colonel across the river and formed
himself on that model; also that he wasn't a real capitalist, as the president of a gas company ought to be.
Mr. Dolon, president of the Merchants Bank, was said to own the gas company and to be the political
boss of our town. Colonel Hilton was a fiery orator, very useful for political purposes, and according to
my uncle's ironical account, Mr. Dolon made him president to keep him from competing with Wolfe
Tone Fitzgerald, who represents our district in Congress. But my Uncle Clay, in his truculent days before
my aunt died, was apt to exaggerate.

Payne, Will. “Honor.” The Saturday Evening Post, Vol. 199, Iss. 5, July 31, 1926. p.16


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Source: https://archive.org/details/saturday-evening-post_1926-07-31_199_5/page/16/mode/2up




Review - The Southern Plantation
THE SOUTHERN PLANTATION. By F. B. Gatnes. Columbia University Press. 1925 … The value of
this study, however, is not in its general, but in its particular conclusions. There is evidence here, for the
first time put in convenient form, which is as valuable for literary criticism as for history. The curious
fashion in which the relationship of blacks and whites has been given an overemphasis on devotion and
an obscuration in the tragic results of sex mixture, is almost a classic instance of the selective power of
the romantic mind. An equally instructive example is the contrast between the social brilliance of the
tradition and the actual provincialism of the plantation, a contrast all the more interesting because the
author freely admits the actuality of much that reality as well as literature supports. And no less
interesting is the effect, here clearly depicted, of romantic literary ideas upon character types, like the
“Kentucky Colonel,” that conform to an ideal made for them by outsiders.

Gatnes, F. B. The Southern Plantation. New York: Columbia University Press, 1925. Review in The
Saturday Review, Vol. 1, Iss. 26, January 24, 1925, p. 484.

Source: https://archive.org/details/sim_saturday-review_1925-01-24_1_26_0/page/484/mode/2up




The Winchester
For a proper name to thus work itself into the very fiber of the wildest used language on earth, there
must have been something tremendous behind it, and there was. It was the Winchester rifle.

“All whiskey is good, some is better than others,” remarks the individually mythical but type-existing
Kentucky Colonel, and it is the same with Winchesters. Some are better than others. _ Also some other
kinds of rifles other than Winchester are better for certain purposes than is the Winchester. The lever
action is not desirable in warfare, for instance, compared to the modern bolt action, or even in the old
days, to the Springfield tip-up action, the government rifle before the Krag bolt gun.

Thomas, Chauncey. “The Winchester.” The American Rifleman, Vol. 72, Iss. 13, Dec. 1, 1924, p. 8.

Source: https://archive.org/details/sim_american-rifleman_1924-12-01_72_13/page/400/mode/2up




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National Affairs
Said the biographer: “Mr. Bryan has a manner rather better than Vice Presidential, and presence enough
for any office. He is tall, big-framed, nervous and muscular, a cross between an urbane Kentucky
colonel and a rough and restless Westerner ranger. Here on the home Axminster he towers and talks at
ease. His polished, well-modeled head and flashing eyes give him a little the look of a large-size,
unfinished Venizelos. . . . His own chauffeur by choice, he changes tires and drives at a terrific pace,
shakes the insides cut of his light automobile. ... What a salesman he must have been in the early days
when he sold soap and toilet goods!”

Time Magazine. “National Affairs.” Vol. 4, Iss. 17, October 27, 1924, p. 2.

Source: https://archive.org/details/sim_time_1924-10-27_4_17/page/n3/mode/2up




Review of Marse Henry
A bon homme himself, Watterson loved raconteurs, gamesters, reporters, actors, and knight-errants, for
he has always been one of them, gifted as he is with a boundless, if somewhat erratic, versatility. A
master of epigram, a rare story teller, the wielder of an ironic, snarling pen, an honest man, a candid
speaker, an idealist, tolerant in religious matters, something of an optimist, a connoisseur of mint juleps,
but above all things else, a Kentucky Colonel and an old-style Democrat, such is “Marse Henry”
Watterson in the flesh and in his book.

The Catholic World. “Review of Marse Henry Watterson’s Book.” Vol. 111, Iss. 662, May 1920, p. 252.

Source: https://archive.org/details/catholic-world-1920-05_111_662/page/252/mode/2up




Didn’t Want Any Other
William Jennings Bryan said in a temperance address in Louisville: “Why does the world so malign
Kentucky? I heard the other day a malignant story about a Kentucky colonel. ‘Colonel,’ a man asked
him, ‘is there any cure for snake bite except whiskey?’ ‘Who cares,’ snorted the colonel, “whether there
is or not?”—Buffalo Commercial.

Judge Magazine. “Didn’t Want Any Other.” Vol. 74, Iss. 1897, February 23, 1918.

Source: https://archive.org/details/sim_judge_1918-02-23_74_1897/page/n21/mode/2up




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Obituary of William J. Lampton
William J. Lampton—GLOOM-CHASING poet has A passed in the death of Mr. William James
Lampton, the well-known satirist, humorist and inventor of the “Yawp” system of poetry…

For blocks around the storekeepers would look eagerly to his coming. Never a cross or harsh word fell
from his lips, never a profane exclamation or ejaculation emitted from his clean soul. A Kentucky
colonel, a free-lance newspaperman, a humorist, a poet and a philosopher was he. Many of his friends
will miss his lines of cheer which appeared daily in The Herald for the last eight months. His simple “
Yawp” verse, as he called it, thrilled thousands and made many more understand the daily occurrences
more clearly than if they had absorbed the logic of Thoreau, the philosophy of Socrates or the wisdom of
Solomon. Liam Shane.

Shane, Liam. “Obituary of William J. Lampton.” Life Magazine, Vol. 69, Iss. 1809, June 28, 1917, p.
1124.

Source: https://archive.org/details/sim_life_1917-06-28_69_1809/page/1124/mode/2up




On Pacifism
Pacifism arises from a variety of motives, some worthy and others unworthy. The only man who will
deny that, is the man whose own pacifism is of so ardent a quality that he will find little patience for its
analysis in others. Like the Kentucky colonel who affirmed that there was no such thing as bad whiskey,
he will declare at once that there is no such thing as unworthy pacifism. The mere fact that it is pacifism
lifts it in his eyes above the reach of the analytical critic.

The Atlantic Monthly. “On Pacifism.” Vol. 119, Iss. 6, June 1917, p. 745.

Source: https://archive.org/details/sim_atlantic_1917-06_119_6/page/744/mode/2up




Col. Haydon and Ladd
I notice that Floyd C. Shoemaker, secretary of the Missouri Historical Society, mentions ‘“‘Col. Haydon
and Ladd as having laid off both Laddonia and Vandalia, or had a hand in it. He means Col. J. J. Haden.
He was a real Kentucky Colonel. He and I were reared in the same county. I knew him well. He spelled
his name differently and was a different man from Jack Haydon. The latter was County Surveyor after
the above events. He taught school in Mexico and now lives in California.

The Missouri Historical Review. “Col. Haydon and Ladd.” Vol. 11, Iss. 2, January 1917, p. 196.


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Source: https://archive.org/details/sim_missouri-historical-review_1917-01_11_2/page/196/mode/2up




Cassius M. Clay and Border State Politics
“The first element,’ said Mr. Proctor, ‘“‘wanted Seward. The second element was looking for a leader.
At this juncture there came to the front, from sources not before taken into consideration, a movement
led by the men of the border States. This body of resolute men from Maryland, from the mountains of
Virginia, from Eastern Tennessee, from Kentucky and from all over Missouri had organized and selected
Cassius M. Clay as leader and spokesman. They were a group of men as earnest as I have ever met.
They asked for a conference with us, which we arranged without delay. The Kansas delegation was the
first to receive them. It may have occurred to them that Kansas was awake to what was coming, and
would more likely appreciate the full force of their logic. The company completely filled our room.
There was something about the atmosphere of that meeting that seemed to mean business. Mr. Clay was
a man of strong personality. He had all of the mannerisms of a real Kentucky ‘colonel’—very courtly,
very earnest, very eloquent in address.

The Missouri Historical Review. “Cassius M. Clay and Border State Politics.” Vol. 10, Iss. 2, January
1916, p. 70.

Source: https://archive.org/details/sim_missouri-historical-review_1916-01_10_2/page/70/mode/2up




How He Would Regard It
How He Would Regard It— Yankee—If someone were so ill-advised as to call you a liar, colonel, in
what light would you regard the act?

Kentucky colonel—I would regard it simply as a form of suicide, sah.—Dallas News

Judge Magazine. “How He Would Regard It.” Vol. 67, Iss. 1718, September 19, 1914.

Source: https://archive.org/details/sim_judge_1914-09-19_67_1718/page/n21/mode/2up




Water Company Promoter
One queer thing about this new Water Company is that its inventor, promoter and manager — indeed,
the company itself —is a Kentucky colonel. Now, of course, this is not for a moment implying that a
Kentucky colonel in private life is not as sober and abstemious a gentleman as anybody else, but from an


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ancient and unescapable legend we have gathered that he is generally supposed to have a prejudice
against water. For a Kentucky colonel to appear as the head of a Water Company, even though the water
comes from the River Jordan, is likely to make even the judicious smile. It is hard to take it seriously. It
has the quality and color of comic opera. And the pictures which illustrate the propositions of the
company carry out this idea. A line of variously-costumed persons, with the Jordan behind them, stand
each beside a cask with a big label. There is the Governor of Jericho, distinguished by a fez, and the
Superior of the Convent of Saint John, distinguished by a turban, and “ His Beatitude, the Patriarch of
the Holy City of Jerusalem,” in canonical attire, with a white beard, looking much too good for the
foolish part which he is playing, and at his elbow, “in the fatigue uniform of a Kentucky colonel,” is the
head of the company, in the act of pronouncing the first sentence of the advertisement in which the
Jordan is said to be “as unchangeable as Eternity and as genuine as truth.” Nothing is wanting but the
footlights.

The Ladies’ Home Journal. “Kentucky Colonel as Water Company Promoter.” Vol. 24, Iss. 4, March
1907, p. 5.

Source: https://archive.org/details/sim_ladies-home-journal_1907-03_24_4/page/n5/mode/2up




Mint for Breakfast
FRANK L. STANTON has many good stories of the South stored up in his memory and most of them
are short and to the point. One of the best and most epigrammatic concerns a Kentucky colonel who was
just dressing in the morning in his bachelor home in Louisville. “Sambo,” he called downstairs to his
henchman, “go out and mow some mint for breakfast.”—Argonaut.

Life Magazine. “Mint for Breakfast.” Vol. 45, Iss. 1160, January 19, 1905.

Source: https://archive.org/details/sim_life_1905-01-19_45_1160/page/n31/mode/2up




The Colonel Who Never Smelt Powder
The group to which we are has promising material. “Then queer little company—a Denver clerk, an
ex-schoolmaster Scotia, an Irish-American lawyer from San Francisco, a Kentucky ‘Colonel,’ who had
never smelt powder, and Boy’ (who was no boy at all, man of twenty-two)—these five set to work
felling trees, clearing away snow, and digging foundations couple of log-cabins—one for as they called
themselves,

Saturday Night. “The Colonel Who Never Smelt Powder.” Vol. 17, Iss. 39, August 6, 1904.



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Source: https://archive.org/details/sim_saturday-night_1904-08-06_17_39/page/n7/mode/2up




His Right to the Rank
HIS RIGHT TO THE RANK: “I am disgusted, sir,” said the Kentucky colonel, “at the wholesale way in
which the Governor of Alabama is making colonels by appointments of citizens to his staff.” “ You did
not acquire your rank in that way, I presume ??" “No, sir: Tam a colonel by hereditary right. My father
and grandfathers were colonels before me, sir.

Harper's Bazaar. “His Right to the Rank.” Vol. 30, Iss. 36, September 4, 1897.

Source: https://archive.org/details/sim_harpers-bazaar_1897-09-04_30_36/page/n23/mode/2up




Turpentine Cure
A story is told of the heroism displayed by a Kentucky colonel—a real colonel, who was out soldier|ing
with the narrator. During the absence of the regimental surgeon one day the colonel was seized with a
diligent discomfort in the region of the sword belt, and he was advised to drink a scoundrelly potion
compounded of turpentine and water. He took it down with never a wink.

“How did you like it, sir ?” asked the major, with mock solicitude.

“Bah !— it is nothing,” said the hero of the performance as tranquilly as he would have described the
loss of a leg by a cannon-shot: “I could drink it without the turpentine.”—Nashville American.

Life Magazine. “Turpentine Cure: A Kentucky Colonel’s Endurance.” Vol. 11, Iss. 265, Jan. 26, 1888.

Source: https://archive.org/details/sim_life_1888-01-26_11_265/page/n13/mode/2up




The Prince of Wales and the Kentucky Colonel
While all these things are true, England is still far from the severe code of the Puritan days. The great
majority of Englishmen drink and play whist and some of them indulge in baccarat ; go to horse races
and bet money, and royalty is not expected to be any better than other people. The most damaging
feature of the affair seems to have been that the Prince of Wales insisted upon gambling and carried the
necessary outfit around with him. He appears to be something like the Kentucky colonel who thinks his
baggage incomplete without a pack of cards and a pocketful of poker chips. Had it been the first
indication of a pleasure-loving, luxurious and loose-moraled life this incident, while creating 8 , would

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not have excited consternation His Royal Highness Albert Edward Prince of Wales was born on
November 9, 1841, and is consequently nearly fifty years of age—not too old to plead youth as an
excuse for his follies.

Saturday Night. “The Prince of Wales and the Kentucky Colonel.” Vol. 4, Iss. 29, June 13, 1891. p.1

Source: https://archive.org/details/sim_saturday-night_1891-06-13_4_29/mode/2up




Colonel Lukenball’s Reunion
We chats about them and these, and finally the train coughs into Meldon. It’s still pretty early, and
outside of a few roustabouts they is only one guy in the station that looks like he’s waiting for someone;
a tall, lanky baby, with a soup strainer and a goatee—a regular Kentucky colonel sorta lad. When he
pipes J. H. he rushes up and puts his arms around him and the two old spavs hugs each other like a
coupla flappers. When they breaks, Lukenball does the necessary.

Saturday Evening Post. “Colonel Lukenball’s Reunion.” March 31, 1923, p. 134.

Source: https://archive.org/details/saturdayeveningp1953unse/page/1474/mode/2up




General Castleman and the Embodiment of the Kentucky Colonel
It was necessary to have a tuft of gray hair on one's chin to win the title of Colonel in the old days. Once
gained, the appellation was clinched for life. One of the statues of which Louisville is proud, standing at
the entrance to Cherokee Park, is that of John B. Castleman, who was a surviving general of the
Confederacy. It was no small tribute to the General that his fellow townsmen raised this memorial while
he still lived. Most Louisvilleians will tell you that the General was more the embodiment of the
pictured Kentucky Colonel than any other man they knew.

The American Legion Monthly. “General Castleman and the Embodiment of the Kentucky Colonel.”
Vol. 6, No. 6, June 1929, p. 68.

Source: https://archive.org/details/americanlegionmo66amer/page/68/mode/2up




National Observer
He was a good listener, but, like most men, he did not object to do the talking when the audience was
sympathetic. He smiled good-humouredly as he pulled at his long moustache when I said that it seemed

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odd to meet a Southerner who had fought under the ‘Stars and Bars,’ who did not wear, at least, the rank
of major. I told him of a man I knew, who had been a captain in the Union Army, but had removed, after
the war, to Texas, where he was at once and unanimously decorated with the rank of colonel. ‘ Yes,’ he
drawled, ‘there’s a heap of colonels in the south, and perhaps that’s why I’ve stuck at captain.’ It
probably was, for he knew the story of the Kentucky colonel. The latter was asked if he had obtained his
rank in the war. He said, ‘No, suh.’ ‘Governor's appointment ?’ asked the inquisitive one. ‘No, suh.’ ‘
Militia?’ was the next question. ‘No, suh,’ replied the Kentucky colonel for the third time. The visitor to
the Blue Grass region tried hard to solve the problem but finally gave it up and said he'd be obliged if
the other would tell how he secured the title. The Kentucky colonel drew himself up to the last notch and
with the impressive air always worn by his brand said, ‘I was born a colonel, suh.’ In a weight for-age
handicap the odds against this story being a winner would be at least a thousand to fifteen, but it is so
old that to some it may be young. It was born at a period when it was impossible to throw a brick even in
a sparsely populated district without hitting a colonel, but the passion is not unbridled at the present day
and plain ‘ Mister’ is no longer a term of contumely.

The National Observer. Vol. 14, Iss. 364, November 9, 1895, p. 731.

Source: https://archive.org/details/sim_the-national-observer-and-british-review/page/730/mode/2up




Phrenological Journal and Science of Health
The following horribly unscientific remark is made in the General Practitioner, under the heading of “A
Reasonable Suggestion!” “If, by tapping an old horse that has been filled with diphtheria bacilli, doctors
can get a cure for this disease, why shouldn’t the doctors tap an old Kentucky colonel and get a toxin
that would knock the gold cure out of sight?”

Phrenological Journal and Science of Health. Vol. 102, Iss. 12, December 1896, p. 227.

Source: https://archive.org/details/sim_phrenological-journal-and-science-of-health/page/226/mode/2up




Kentucky Colonel or Honorable Title
London Congregational clergyman underwent after receiving a Tennessee degree. Englishmen take their
academic degrees very seriously; Oxford undergraduates have profited by that fact for many annual
occasions in the Sheldonian Theatre; in America academic titles seem to be going fast the way of the
Kentucky “ Colonel ”’ or the more prevalent ‘“‘ Honorable ”’ or “Past Grand Master.” Incidents which
call into prominence institutions that manufacture degrees “ while you wait” may be hailed as delightful
and diverting displays of human vanity; but as causes for serious concern they may be briefly dismissed.
So, in the words of the Nashville college song, we bid this subject, “Welcome, all welcome, farewell.”

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The Outlook. Vol. 74, Iss. 13, July 25, 1903, p. 736.

Source: https://archive.org/details/sim_new-outlook_the-outlook/page/736/mode/2up




Boston Theatre
In Old Kentucky. A Kentucky Colonel, hero, heroine, and an arch-villain; dynamite bombs and duels,
barn burning and horse racing, genuine negroes and a lynching party, are the ingredients Mr. C. P. Long
has employed in the construction of his piece; the result—a patchwork in vivid colors, pyrotechnical in
verbiage, acrobatical in acting; in short, a performance such as the gallery gods love to witness, and
those below, remembering the forbidden books of their youth, regard with indulgent eyes. There are
faults of technic— but shoo! That upon which the gods have set their approval let no mortal blame.

The Bostonian. Vol. 1, Iss. 2, November 1894, p. 213.

Source: https://archive.org/details/sim_national-magazine-an-illustrated-monthly/page/212/mode/2up




Daddy Greer and Hospitality in the Tent
“Mr. Sterns you are quite a character. I am sure that I am going to fall deeply in love with you. It is
appropriate that I should after your rescuing me from the villain. But don’t take me too seriously, for
there is father! See him—over to your right—the heavy-set, grey haired, grey-mustached, goateed man
wearing the blue flannel shirt? He is sixty-eight years old, but he is strong, healthy and as enthusiastic as
a boy. He never forgets that he was a former Kentucky colonel. Any one who remembers his title is sure
to be popular with him.”

Then placing her hands as to form a funnel around her mouth, she shouted:

“Oh, Daddy Greer, come here! something to tell you!”

A good natured smile overspread the ruddy face of the man, who was standing in front of a tent, and
after a waving salute with his hand he started to meet them.

“Daddy,” said Pauline, after they came even with him, “I want you to meet a new friend of mine, Mr.
Sterns.”

“Happy to met you, suh!” said the colonel, as he cordially shook hands with Dick. “Any friend of
Pauline, is a friend of mine.”

“Thank you,” said Dick, “I am pleased to meet you.”


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“Now, daddy,” said Pauline, “since you and Mr. Sterns are acquainted, come over to our home. We must
show him some hospitality.”

“Yes, puss, of course!” replied the colonel. “This new life makes me forget my duty as a host. Come on
Mr. Sterns. Welcome to our home, or I should say, our tent.”

“Now, daddy,” said Pauline, as they arrived in front of their ten, “promise me that you will keep quiet,
and I will tell you something. Then I must get busy getting breakfast. Do you promise, daddy >”

“Yes, puss,” said the colonel, condescendingly, thinking that he was to be the butt of some joke of
Pauline’s origin.

Overland Monthly. “Daddy Greer and Hospitality in the Tent.” Vol. 79, Iss. 1, January 1922, p. 71.

Source: https://archive.org/details/overland-monthly-and-out-west-magazine/page/70/mode/2up




Sincerity of ‘The Kentucky Colonel
His voice is musical with a melancholy cadence in it, and his manners are the outcome of his kindly,
sympathetic nature. Next to Octave Thanet, I know of no author who gives one a better idea of the
typical Southern manner. I was _ particularly struck with his ideas upon words. I had asked him if he
and Mr. Waterloo were not striving to describe life with absolute simplicity and sincerity of expression,
for those qualities seemed to me to be the main characteristics of ‘‘ The Kentucky Colonel’’ and ‘‘A
Man and a Woman.”’

The Midland Monthly Magazine. “Sincerity of ‘The Kentucky Colonel.’” Vol. 4, Iss. 6, December
1895, p. 497.

Source: https://archive.org/details/sim_midland-monthly-magazine_1895-12_4_6/page/496/mode/2up




A Kentucky Colonel and His Well Water Fortune
A Kentucky Colonel fell into his well recently, and was there five hours before he was rescued, But it all
turned out for the best. He sells the water from the well to his neighbors for one dollar a gallon.

Puck. “A Kentucky Colonel and His Well Water Fortune.” Vol. 22 Supplement, 1888–1889, p. 48.

Source: https://archive.org/details/sim_puck_1888-1889_22_supplement/page/48/mode/2up




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Fighting Colonels
LIFE takes pleasure in calling the attention of the press of Kentucky to the lively street-fight between
Colonels that came off recently in Philadelphia. Colonels Runkel and Snowden were the participants,
and the weapons were a stick and an umbrella. Colonel Snowden has been a minister to foreign ports
and has held important offices at home, and is an eminent person. Colonel Runkel’s record does not
appear in the narrative of the fight, and it is possible that he is just a Philadelphia colonel and not
otherwise noted. He dislikes Colonel Snowden, and meeting him on the street he hit with his cane.
Colonel Snowden had a stout umbrella and responded, and for a few minutes the cudgel play between
them was very active. Then Colonel Runkel was arrested, and Colonel Snowden went away.

It is worth while to point out that neither of these Philadelphia colonels drew knife nor pointed pistol,
nor is it likely that either of them now fears that the other will shoot him at sight or surprise him with
any form of sudden death. Kentucky colonels who meditate any personal collision will do well to keep
these Quaker colonels in mind.

Life. Vol. 25, No. 652, June 27, 1895, p. 418.

Source: https://archive.org/details/life2425mitc/page/418/mode/2up




Kentucky Colonels Association Uniforms
FROM Louisville, Kentucky, however, by Associated Press despatch to our favorite morning paper
comes the news that The Kentucky Colonels Association has met and withstood one of the first assaults
of modernity. This was a plan to put the colonels into khaki uniforms. It was not stated whether the
proposed uniforms would have short knee pants, like those of Boy Scout masters, but in any case the
colonels held out for the goatee and the long-tailed coat and broad-brimmed soft hat which all
self-respecting Kentucky colonels have worn, together with a black string tie and a good “‘seegar,” since
corn liquor was first discovered. Before departing back to their unhealthy house-bound lives, they did
pass a resolution which is reported by the Associated Press as follows: ‘“The Kentucky Colonels
Association hopes to impress upon the world at large the dignity of the offices by the award of medals
to. members and adoption of rosettes, baldrics and uniforms for use at affairs of state.” As we said at the
start, we are among those already hopefully impressed. In case you don’t know, a baldric is described by
‘“The Standard Dictionary” as follows: “A belt, sometimes richly ornamented, usually worn over one
shoulder and across the breast to support a sword, bugle, or powder flask, etc.”” The etc. will no doubt
be especially handy at affairs of state.

The Commonweal. Vol. 14, Iss. 5, June 3, 1931, p. 117.

Source: https://archive.org/details/sim_commonweal_1931-06-03_14_5/page/116/mode/2up



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Pseudohistory by the Honorable Order in 1956
None less than Isaac Shelby commissioned the first Kentucky colonel, his son-in-law, Charles S. Todd.
Thereafter it became customary to commission any Kentucky soldier who had distinguished himself in
battle or anyone else, native or foreigner, who rendered outstanding service to the Commonwealth. The
practice was given legal sanction in 1887. Once a year the governor would entertain the colonels at
dinner in the executive mansion, but in the twentieth century the legion has become far too large for
such an intimate affair. The late Governor Ruby Laffoon probably took the record for commissioning
Kentucky colonels, and he also created the Honorable Order of Kentucky Colonels. Once a year, on
Derby Eve, the Colonels have a banquet at Louisville, an affair that not only stimulates the state’s great
distilling industry but is also the source of many benevolences, In recent years the Kentucky
Bookmobile Project, the Goodwill Industries, the Kentucky Country Doctor Scholarship Fund, and other
worthwhile causes have benefited from the generosity of the Honorable Order.

Thompson, Lawrence S. Kentucky Tradition. Northampton, MA: The Shoe String Press, 1956.

Source: https://archive.org/details/kentuckytraditio0000lawr/page/74/mode/2up




The Writer’s Disease
This virulent outbreak of cacoéthes scribendi among the Kentucky colonels is to be understood only by
reference to Kentucky conditions and Kentucky politics. Two days before the Chickasaw mission
arrived at St. Asaphs, Kentucky had experienced the disaster at Lower Blue Licks where seventy-five
men had been killed by the invading Canadians and Indians. The news of this defeat must have reached
Logan about the same time the Chickasaw arrived and he was already raising the Lincoln militia to
march to the battlefield. The colonels fully expected another invasion from the north and so wanted to be
sure that the southern Indians would remain quiet while they were meeting it.

The Journal of Southern History. Vol. 8, Iss. 4, November 1942, p. 486.

Source: https://archive.org/details/sim_journal-of-southern-history_1942-11_8_4/page/486/mode/2up




Black Maestro
He was a descendant of slaves perhaps from the land of Jonah Winkfield, who had been granted a
thousand acres of Bluegrass in 1783, when it was still part of Virginia, for his contributions to the
Revolutionary War. The Chiles, Bush, and Van Meter families also were given thousands of acres nearby

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and were among the first of the Kentucky colonels. Victoria Clay's people were from Madison County,
where the Bluegrass meets the foothills of the Appalachians. General Green Clay was a power broker as
a member of the county court for nearly forty years and used his clout to profit on everything from
estates and taverns to ferries and toll roads. His son, Cassius Marcellus Clay, was one of the South's
more notable emancipationists and freed his own slaves in 1844. He was a tough son of a gun, a U.S.
Army veteran of the Mexican war and major general in the Union Army who was shot at point-blank
range during a speech in 1843 but still managed to brandish a Bowie knife and slice off his assailant's
ear and nose and cut out one eye. Cassius's cousin was Henry Clay, the secretary of state under John
Quincy Adams and a U.S. senator and perennial failed presidential candidate.

Drape, Joe. Black Maestro: The Epic Life of an American Legend. New York: Morrow, 2006.

Source: https://archive.org/details/blackmaestro00joed/page/7/mode/2up




The Westward Movement
This antagonism of the central authority and the frontiersmen was naturally the occasion of a savage
unrest, and as the spring opened, the exposed settlements were in great alarm. On the north, the tribes of
the Wabash were giving way to a long harbored enmity. The Shawnees, at a conference on the Miami,
had but grudgingly acknowledged the new Republic, while their promises of peace lasted no longer than
there was white man's rum to drink. So the western settlements were beset on all sides. Patrick Henry
sent the appeal of Virginia to Congress for help, and in July its secretary informed him that two
companies of infantry had been sent to the falls of the Ohio to cooperate with the militia. Henry urged
upon the Virginia delegates in Congress that the only way to prevent " loss and disgrace " was to rush
upon the hostile towns. The result of a spasm of energy on the part of some Kentucky colonels was that
in the face of the political turmoils which the settlements were experiencing, as we shall see, a thousand
men gathered at the rapids of the Ohio, and were organized by George Rogers Clark for a dash upon the
Wabash towns. The expedition, which was made in the autumn of 1786, proved a failure. Clark, now but
a shadow of his former self, could not control his men, and with an exhausted commissariat, and having
accomplished nothing in proportion to the outlay which had been incurred, he turned back with a
disordered rabble. His disgrace was in some measure offset when Colonel Logan, with five hundred
mounted riflemen, by way of diverting the savages from retaliatory movements, slipped hastily among
them and disconcerted them by the rapidity of his havoc. This and a dash of Sevier at the south, later to
be mentioned, were the only relief of a pitiful season of Indian war.

Winsor, Justin. The Westward Movement: The Colonies and The Republic West of The Alleghanies,
1763–1798. Boston: Houghton, Mifflin, 1897.

Source: https://archive.org/details/cihm_14749/page/n363/mode/2up



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Souvenir of the Thousand Islands of the St. Lawrence River
I must not omit the military arm of the Nation. My register records their presence singly and in squads,
veteran corps, and regiments, Kentucky colonels and " high privates," with waving banners and martial
music. They were peacefully inclined, however; the bivouac and battle-field were memories. They
march erect and step proudly to the beat of the drum, save when tempting forage was uncovered; then "
double quick " and rapid rush broke down all lines, and discipline was ignored.

Haddock, John A. A Souvenir of the Thousand Islands of the St. Lawrence River. Alexandria Bay, NY:
J. A. Haddock, 1896, p. 92.

Source: https://archive.org/details/cihm_13022/page/n141/mode/2up




Let’s Go to Florida
At some not far distant date Collier County will, so to speak, burst onto the world and into publicity, but
until it does let it live its own life. Not, of course, that the visitor is barred. Nor that he doesn't get down
that far. The Tamiami Trail is good as far as Bonita Springs and practicable to Naples and even beyond.
Naples, a small town awaiting the coming of the railroad, was a favorite spot in the winter of the late
Henry Waterson, of Louisville and the rest of the world. Here in a fine old house set in a mass of tropical
luxuriance, he was wont to visit his friend and business associate. Colonel W. N. Haldeman. Sitting there
on the veranda of the comfortable residence, with the long silvery beach and the quiet gulf before them,
the two Kentucky colonels must have enjoyed many rare hours of reminiscence and prophecy. Let us
hope that among the many other things that grew in his big garden surrounding the house was that
fragrant herb known as mint, for the picture of the two accomplished, old-world gentlemen seated there
at their ease seems somehow incomplete unless we can vision at their elbows two tall frost encrusted
glasses topped with what was, or should have been, the state flower of Kentucky.

Barbour, Ralph Henry. Let’s Go to Florida. New York: Dodd, Mead & Company, 1926, p. 229.

Source: https://archive.org/details/guidetolandofflo00bica/page/n239/mode/2up




Guide to Technical Writing
In England the prefix ' Honourable' indicates that the bearer of it is the son of a peer, while 'Right
Honourable' signifies that he is a member of the Privy Council. These quaint old customs have historic
warrant and mean something in a country of anachronisms, however curious they may seem to an
American. In a democracy we have no titles save those of the army and the navy, because only in the
naval and military services is precedence recognized. The Kentucky Colonel will forfeit his title

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promptly when his purse is inadequate to the tips demanded by his honorary rank. The Attorney General
of California, who is hailed as General, has no more precedence than the general grocer, to whose class
etymologically he belongs.

Rickard, Thomas Arthur. A Guide to Technical Writing. San Francisco: Mining and Scientific Press,
1908, p. 64.

Source: https://archive.org/details/a_guide_to_technical_writing/page/n67/mode/2up




Second The Motion
A resolution introduced in the Kentucky legislature would impose a $100 tax on the 1,000 or more
Kentucky “colonels.”

Pathfinder. Vol. 39, Iss. 1992, March 5, 1932. Farm Journal Media.

Source: https://archive.org/details/sim_town-journal_1932-03-05_39_1992/page/18/mode/2up




The Colt
There are also a brunet daughter—beautiful, of course!—with spit curls and flounces and crinolines; a
quick-tempered son with a penchant for dueling; a colored butler with a “crick” in his back; a fat black
mammy in flaming calico. Rockyview Hill was the same sort of a domicile you have imagined, and its
master, Henry Clay Pembleton, the Kentucky colonel of your dreams. And he did have a daughter who
was beautiful enough not to spoil your pet ideas of the Southern belle, and a son who possessed a
volatile temperament, if not a penchant for fighting with pistols; and there were dogs and thoroughbred
horses all over the place.

The Popular Magazine. Vol. 81, No. 1, July 20, 1926, p. 104.

Source: https://archive.org/details/popular-magazine-v-081-n-01-1926-07-20/page/104/mode/2up




The Favorite Always Wins
Mr. George Raymond was really three people. First of all, he was a kindly, courteous gentleman in his
late sixties, fastidious in his relays of white linen suits. Secondly, he was a bank president. And thirdly
he was a colonel—a Kentucky colonel. Mr. Raymond played all three róles to perfection. There was one
week in the year, however, when he was strictly Colonel Raymond—the week of the Lexington Trots.

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For that week Colonel Raymond deserted his broad lawns and pillared front porch for the leather
upholstered armchairs of hotel lobbies, and for drinks’ which were definitely inferior to those made by
Jason, his own major-domo, For that week he departed from his own table, his fine linen and old silver,
and at meal-times during that week the Colonel could be found down under the stands, dipping hunks of
bread in bowls of Kentucky burgoo. Finance and business were forgotten in “hoss talk.”

Blue Book. Pentecost, Hugh. “The Favorite Always Wins.” Vol. 71, No. 5, September 1940, p. 4.

Source: https://archive.org/details/blue-book-v-071-n-005-1940-09/page/4/mode/2up




Moustache and Goatee
“Do you remember old O’Neill Russell, that used to go around —a tall, thin old man, with white
moustache and goatee like a Kentucky colonel? And he would tell you tales of daring by ancient Irish
heroes, and mix them up with stories of six-shooters and bad men from his own experiences in the early
days out in the West.

The Dublin Magazine. Vol. 1, Iss. 1, January–March 1926, p. 66.

Source: https://archive.org/details/dublin-magazine_january-march-1926_1_1/page/66/mode/2up




Colonel Saint Patrick
In 1908, a few days before the 17th of March, some of the old-time agitators got busy, and in those days
when Johnny Bowles and Paul Leming got together something usually happened. The bunch decided
that there should be a real celebration at M. S. M. like there had been at Columbia. George Menefee,
commonly known as the “Kentucky Colonel,’’ was chosen to act as St, Patrick, and the manner in which
he carried through the ceremonies was extremely good, and won the admiration of everyone who saw
him. Degrees were conferred on the Seniors, and Director Young and Doctor McRae in addition.

The University of Missouri School of Mines and Metallurgy. The Rollamo Yearbook, 1910.

Source: https://archive.org/details/Rollamo1910/page/n159/mode/2up




On Bathing Colonels
These signs include fire, air, and water, and like celestial signs, they are mostly borrowed from the Red
men. Hoboes and yeggmen take little interest in celestial objects, and unlike the proverbial Kentucky

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Colonel, they do not even use water for bathing purposes. But in the wilderness life itself often depends
upon the traveler’s ability to find water, and among the ordinary pedestrians. Boy Scouts and Girl
Pioneers, Camp-fire Girls, and Girl Scouts, it is absolutely necessary for the hikers and Scoutmasters to
be able to direct the followers to the location of good water which is uncontaminated by the dreaded
typhoid germs.

Beard, Daniel Carter. The American Boys' Book of Signs, Signals and Symbols. Philadelphia:
Lippincott, 1918.

Source: https://archive.org/details/TheAmericanBoysBook/page/n67/mode/2up




Colonel? Or Kentucky Colonel?
Toastmaster Miles: Mr. President, Ladies and Gentlemen of my Radio Audience: Mr. Sands has dwelt at
some length on my high rank in a military way. That is kind of funny to me, but some fellow out here at
the Palace Gardens this afternoon—I think he was from down South somewhere—said, ‘‘Are you a
Colonel, or are you a Kentucky Colonel?” (Laughter)

It might interest some of you to know how I got all this preparation to get to be a colonel. You know you
have heard about these pacifists of various cults and religious sects. A good many years ago—oh, a long
time ago—while I was still young enough to chase something else beside golf balls, I saw a good
looking girl, and I got her, and you know, you have heard these Quakers are pacifists, but I got plenty of
training before the war.

The American Elevator and Grain Trade. “Colonel? Or Kentucky Colonel?” Vol. 48, Iss. 4, October
15, 1929.

Source: https://archive.org/details/american-elevator-and-grain-trade/page/238/mode/2up




Colonel Buckner
Mr. Monaghan. No, sir. The first indication or intimation we had of any money such as this being paid
out on this order was at the time Mr. Fernandez came into our office and asked for this $740 and
substantiated his request by this letter. We do not know, and did not then know who Col. Villa de Nueva
is, whether he is a Kentucky colonel or a South American colonel. Page 2537

Mr. Casey. If there are any others, I do not believe I know of them, and I do not believe you do.

Mr. Irenee du Pont. There was another group.


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Senator Clark. The title of Colonel Buckner, was that a courtesy title?

Mr. Casey. He was a full-fledged Kentucky colonel, from Owensboro, Kentucky.

Senator Clark. That was just a Kentucky colonel, was it?

Mr, Casey. Yes.

Senator Clark. That was before the days of the present Governor of Kentucky, though, was it not?

Mr. Casey. Yes. He qualified, by the way. He met every requirement that was expected of a Kentucky
colonel.

Senator Clark (reading from " Exhibit No. 992 ") :

Called on General Humphrey and asked him what he knew about Mr. A. W. Randall. Told General
Humphrey that Mr. Randall mentioned his name during a conversation and further stated that he, Mr.
Randall, was very well connected with the Polish Government. General Humphrey reported that he
knew Captain Randall very well in a business way; that Captain Randall was formerly chief of
transportation for the Polish Mission in this country, and as General Humphrey supplied boats and
arranged for transportation of materials purchased by the Polish Mission from the United States
Government, he came in contact with Captain Randall a great deal.

United States Senate. Munitions Industry: Hearings Before the Special Committee Investigating the
Munitions Industry, 73rd Congress. 1934.

Source: https://archive.org/details/munitionsindustr1114unit/page/2536/mode/2up




The Old-Fashioned Kentucky Colonel
General Simon Bolivar Buckner is, like General Palmer, a native of Kentucky. He is six years younger
than General Palmer, though quite as old in appearance. He was educated for the military profession,
and graduated from the Academy at West Point in 1844, where he was subsequently a professor. He
served with distinction through the Mexican war, and afterwards entered upon various enterprises,
among other things practicing law for a time. At the outbreak of the war he became very prominent in
the affairs of Kentucky, and was perhaps the most energetic advocate of the confederacy in that state. He
was one of the conspicuous leaders in the Southern army and became a major-general. Since the war he
has been constantly prominent in the affairs of his state, and has filled the office of governor. Recently
he has been quite as influential in Kentucky as Secretary Carlisle in combating the free-silver doctrine.
He is undoubtedly the finest living exponent of everything that is attractive in the typical old-fashioned
“Kentucky Colonel.”



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Shaw, Albert. “General Buckner and the Old-Fashioned Kentucky Colonel.” The Review of Reviews,
Vol. 14, July–December 1896, p. 396.

Source: https://archive.org/details/TheReviewOfReviewsV14/page/395/mode/2up




What BURGOO is?
A Kentucky Colonel Says it is a Cross Between a Soup and a Stew.

" Burgoo.” explained an old Kentuckian, “ is one of the oldest Kentucky dishes we have. No one knows
who first made. ‘burgoo’, nor does anyone know where or how it got its queer name. Burgoo is an
out-of-doors creation, and pots of ‘burgoo’ have simmered over a hot fire in the sun at every big political
gathering in the State since Henry Clay was a boy, and years before that, too. It is not only an extremely
palatable dish, if you can call it that, but it’s very nourishing. ‘Burgoo’ is a cross between a stew and a
soup. It is always made in the open air. The ‘Burgoo’ the Blades of Grass ate to-day was very rich.

“How was it made? Well I took a big caldron, put some red pepper pods in the bottom, added some
potatoes, tomatoes and corn; then put in half a dozen prairie chickens, as many more tender ‘yellow
legs,’ and a couple dozen soft shell crabs. I’d have added some young squirrels, but they could not be
obtained. When everything is in readiness there is enough water put into the caldron to just make the
contents float. Then it is put on the fire. It must be allowed to simmer slowly for six hours and must be
stirred constantly with a hickory stick. A hickory stick is best and always used, but another might do as
well. When it is nearly done it may be flavored to suit the taste. It is done when the meats are thoroughly
shredded, not before. When it is done —Urn 1 ” and the veteran’s eyes sparkled at the prospect.

Hardware Publishing Co. Hardware, Vol. 28, December 10, 1908, p. 38.

Source: https://archive.org/details/HardwareVol28/page/n401/mode/2up




Slandering Kentucky
EXTENSION OF REMARKS OF HON. A. B. CHANDLER OF KENTUCKY

IN THE SENATE OP THE UNITED STATES Friday, March 22 (legislative day of Monday, March 4),
1940

EDITORIAL FROM THE JACKSON (MISS.) DAILY NEWS OF MARCH 20, 1940

Mr. CHANDLER. Mr. President, I ask unanimous consent to have inserted in the Record an article
appearing in the Jackson (Miss.) Dally News under the date of Wednesday, March 20, 1940, entitled

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“Slandering Kentucky." There being no objection, the editorial was ordered to be printed in the Record,
as follows:

(From the Jackson (Miss.) Daily News of March 20, 1940]

SLANDERING KENTUCKY

Well, here's a fellow who Is just a gol-damed chump even if he is president of an organization with a
highfalutin name.

A. L. Brandon, president of the National Association of Golf Course Superintendents, says that
Minnesota bluegrass Is better than Kentucky bluegrass for golf fairways; that it is sturdier, grows better,
and stays green longer.

We don’t believe a word of it, and right here is where we rush to the rescue and defy a slanderer of the
fair name of the State of our forebears.

There is no bluegrass better than Kentucky bluegrass.

There are no women more beautiful than Kentucky women.

There are no horses faster than Kentucky horses.

There is no whisky better than Kentucky whisky.

There are no colonels more militant than Kentucky colonels.

There are no hams more luscious than Kentucky hams cured in the curling smoke of a slow
hickory-wood fire.

There are no mint beds more luxuriant than the mint beds of Kentucky.

There Is no tobacco better than the tobacco of Kentucky.

And all that goes, no matter who may doubt or dispute. We are ready at any moment to fight a duel on
the subject.

Congress of the United States. Congressional Record: Proceedings and Debates of the 76th Congress,
Third Session, Appendix, Vol. 86, Part 14, 1940, p. 1598.

Source: https://archive.org/details/dli.ernet.73631/page/1598/mode/2up




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Addresses Cassius Clay
These men of the southern border had chosen as their spokesman Cassius M. Clay of Kentucky. As Clay
stepped forward and stood at the head of our table at which we were all seated, there was a deep intense
silence for a moment. As he stood posed before us he was the ideal Kentucky Colonel with all the
mannerisms of that element so well pictured in our literature. A fascinating man, handsome to look
upon, faultlessly dressed, keen, bright and emotional. We could not keep our eyes off as he stood like a
waiting orator charged with a volcanic mission. As he stepped closer to the table, leaning forward with a
sort of confidential gesture, speaking right to our very faces, he said : "Gentlemen, we are on the brink
of a great Civil War."

Riddell, William Renwick, et al. Addresses. Springfield, Ill.: Printed for the Lincoln Centennial
Association, 1918.

Source: https://archive.org/details/addressesdeliver00ridd/page/96/mode/2up




How a Kentucky Colonel Looked and Talked
Ex-Judge Anderson, abortioner Millikin’s goldenly actuated actor in this scene, cut loose with oodles of
language. Anderson looks like a ‘Kentucky Colonel sah’’ and talked like one, too. He had about
seventeen reasons—and all of ’em darned poor ones—why abortioner Millikin shouldn’t be treated
tenderly by the Court.

Clark, Sam H. Jim Jam Jems, July 1921.

Source: https://archive.org/details/jim-jam-jems-july-1921-full/page/n7/mode/2up




Deaf Kentucky Colonel
An old Kentucky colonel was very deaf, but would not use an ear trumpet, because he didn’t like people
to know that he was afflicted in any way, so he took it for granted that the first greeting from anyone
would be about the weather.

San Francisco Labor Council. Labor Clarion, July 16, 1909.

Source: https://archive.org/details/csfst_003168/page/16/mode/2up




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Canadians call Kentucky Colonels Bogus
Kentucky colonel, a bogus colonel. After the American Civil War, it is alleged, nearly every man in
Kentucky was either a captain, a colonel or a general.

Sandilands, John, ed. Western Canadian Dictionary and Phrase Book. 1912.

Source: https://archive.org/details/162037415674/page/n17/mode/2up




Nonsensical Kentucky
The State Militia—The state guard forms the amateur auxiliary to the army. It is utilized in the fierce
conflicts waged between our leading street-railway corporations and the American Federation 61 Labor
and in the quiet and orderly lynchings becoming so fashionable in this country.

A Kentucky colonel is privileged to wear not to exceed four pounds of gold lace, to allow his nose to
match the red guerdon of the artillery and to carry anything but water in his canteen.

Stone, Stuart Basham. The Nonsensical U.S.A. New York and Boston: H.M. Caldwell Co., 1912, p.
141.

Source: https://archive.org/details/nonsensicalusa00stongoog/page/n154/mode/2up




Roosevelt Addresses at the Banquet
Speaking of the ladies, I am reminded of a little story of a Kentucky Colonel who was suddenly called
upon to reply to a toast, "The Ladies." He was entirely unprepared, and as he rose to his feet he said :

"What a noble theme, the toast to the American ladies. What a pleasure to any American citizen to reply
to that toast. What words of eloquence come to an orator's lips when he thinks of that beautiful subject,
the American ladies ; and as the poet says — yes, as the poet says :

'O woman, in our hours of ease, Uncertain, coy, and hard to please — Uncertain, coy, and hard to please
— Uncertain, coy, and hard to please, When seen too oft', familiarity with her face Leads us first to
endure, then pity and embrace.' '

It is customary in all English banquets, I am told, for the first toast to be to the king. In this glorious
Republic of ours we have no king to whom we can offer this toast ; but, compatriots and friends, we
have an honored member of this Society, a beloved patriot, who is delighted to be with us whenever his
official duties will allow it. He is unavoidably detained to-night. We cannot call him a king, but he is a

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king of men, and I ask you to join with me in drinking the health of our loved compatriot/who pays his
dues annually to this Society, Theodore Roosevelt, President of the United States. (Loud applause. All
rise and drink to the President.)

Sons of the American Revolution. Empire State Society. Addresses at the Banquet of the Empire State
Society of the Sons of the American Revolution. 1907. With contributions by Frank Oliver Hall.

Source: https://archive.org/details/addressesatbanqu00sons/page/2/mode/2up




Colonel Crook
" I got into a place called Fulton. Now, this town is nowhere in particular, as I could understand it, One
side of the street is in Kentucky and the other side is in Tennessee, and seeing that there is only the two
streets in the place, I am not sure whether I am a Kentucky Colonel or a member of the Tennessee
regime. " It is not in a class with either New York or Punxsutawney. " I have got into dumps where there
was a chance for a man to do a few things to better his condition, but this place is dominated over by the
Illinois Central Railroad, and the best you can get there is a bum game of poker, a rotten hotel, a pool
and billiard-room and railroaders.

Famous, William N. Colonel Crook Stories. New York: Excelsior Publishing House, 1909, p. 5.

Source: https://archive.org/details/colonelcrooksto01famogoog/page/n10/mode/2up




Modern English Writers
The Magnetic North is no tale of adventure; it is largely written in dialogue, and it digresses with
unpardonable frequency. But the characters of the Kentucky Colonel, the agnostic Boy, and the woman,
Maudie, are brilliantly and sympathetically delineated. Four years later Elizabeth Robins followed The
Magnetic North with another tale, Come and Find Me! (1908), in which the scene is laid partly in
California and partly in Alaska. The two, in their open-air and romantic character, are remarkable books
for a woman to write; and it is not surprising that the C. E. Raimond of the earlier novels was mistaken
for a man.

Williams, Harold Herbert, Sir. Modern English Writers: Being a Study of Imaginative Literature,
1890–1914. London: Sidgwick & Jackson, Limited, 1919, p. 435.

Source: https://archive.org/details/modernenglishwri00willuoft/page/434/mode/2up




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The Englishman. First-Use in Print Sunday, March 10, 1833

COVENT-GARDEN THEATRE—The Kentuckian; or, A Trip to New York is the curious title of a
two-act farce produced at this house last evening. The piece is intended to present us with a broad
caricature of Kentucky manners, the beau ideal of which is embodied in the person of Colonel Nimrod
Wildfire (Mr. Hackett). There is scarcely any plot or intrigue to speak of—in fact, all that exists can be
conveyed in two sentences. We shall summarize the plot briefly and then proceed to introduce Colonel
Wildfire in his most striking scenes.

The setting is New York, in the residence of Mr. Freeman, a local merchant and uncle to the Kentucky
Colonel. Mr. Freeman has a wife and daughter, the latter of whom are rather aristocratic in their manner
and have aligned themselves with an Englishman, Mr. Perkins, who passes himself off as "Lord
Granby." However, Miss Freeman is secretly in love with another—Percival, an English
merchant—whom she ultimately marries once the deception is exposed.

An additional figure is Mrs. Luminary (intended, it would seem, as a satire upon Mrs. Trollope), an
English gentlewoman who has journeyed to America to open a school for “amelioration” and to critique
transatlantic manners. The contrast between this European lady and the rugged Colonel from “Old
Kentuck” forms the essence of the piece.

The first mention of the Colonel appears in a letter read aloud by Mr. Freeman. In it, Wildfire proclaims
his summer visit to New York, signing off with the outrageous assertion that he may be “totalaciously,
“yours to the backbone.”

He arrives shortly thereafter, attired in sleek buckskin breeches, top-boots, and a wildcat-skin cap, tail
dangling. Introduced to Mr. Percival, he promptly declares his admiration for “full-blooded John Bull,”
and regales the room with tales of Mississippi catfish, which he compares to lawyers—“nearly all head
and mouth.”

Shown a letter from Mrs. Luminary, he remarks that it’s “full of trigonometry,” but if she truly wants a
look at America, she should go to Kentucky, “the cream of the United States.” He touches on the tariff
question, claiming he could resolve the matter if given the floor in Congress, and proceeds to deliver a
mock campaign speech.

In it, he boasts that he can “jump higher, squat lower, dive deeper, and come out drier than any man in
the States,” and that he possesses “the prettiest sister, the fastest horse, and the ugliest dog.” To top it all
off, he declares: “I am a horse.” This, it seems, is the pinnacle of Kentuckian excellence.

He then calls on Mrs. Luminary, who is astonished to find tea served with china and silverware—she
had expected Americans to eat with their fingers. Her waiter, a self-assured free man of color, announces
the Colonel's arrival with the quip: “No, ma’am, he says he’s a horse.”


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Seating himself astride a chair, the Colonel describes Kentucky vividly—his sister shot a bear at age
nine and was a fine trapper of wildcats. The soil is so rich, he jokes, “you could travel under it.” He
relates a past quarrel with a waggoner near Bolton Swamp, saying it felt like he’d been “currycombed by
fifty thousand wildcats.”

In a ballroom scene, he dubs a serving of ice “a snowball sweetened with lump sugar,” and upon being
invited to waltz, asks: “What sort of varmint is a waltz?” He then demands the musicians give him
“three-hundred horsepower music.”

Mrs. Luminary, having written him an invitation to escort her on an exploratory tour, receives a reply in
which he interprets her note as a marriage proposal. His response: “Most ameliorating widow, if you
place yourself in my hands, we shall start for Old Kentuck—it’s a match; the parson is hard by, and in
less than a flash we shall be hammered into one.”

Her horror at the prospect of frontier marriage and backwoods life reaches a comic peak.

The play concludes with a dramatic duel challenge. Mr. Perkins confronts the Colonel over a prior
slight, but Wildfire admits he was too drunk to remember it—having “put too much water in his
brandy.” He agrees to a duel and arrives armed with rifles, proposing twelve paces. Perkins suggests a
half-mile instead. The Colonel retorts that he doesn’t want to “strain his rifle” and calls him a possum,
threatening to “skull a pot-kettle up the Falls of Niagara with a crowbar” if he won’t fight.

At the critical moment, a coach carrying Miss Freeman (being abducted by Perkins) passes. The Colonel
halts it at gunpoint. The true lovers are united; Perkins is cast out; and Mrs. Luminary departs chastened,
acknowledging that “America must first provide for its needs before it can afford luxury and frivolous
accomplishments.”

The Englishman (London), “Covent-Garden Theatre,” March 10, 1833, at 3.




Sun (London). Monday, March 11, 1833

COVENT-GARDEN THEATRE—On Saturday evening, a new farce entitled The Kentuckian; or, A Trip
to New York was produced at this theatre for the purpose of introducing Mr. Hackett, an American
comedian of considerable notoriety in his own country. In the performance, he assumed the character of
Colonel Nimrod Wildfire, a role which, according to the playbills, he had already enacted to universal
applause throughout the United States.

The intrinsic merit of the piece itself is rather slender; it derives its strength primarily from the cast,
which, though respectable and competent, could only barely support the weight of such a thin dramatic
structure. The Kentucky Colonel is the central spring—indeed, nearly the sole feature—of the entire

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drama. Colonel Nimrod Wildfire is a genuine composite of all the “Yankee” stereotypes as we have
come to know them through the humorous curiosities and caricatures preserved by collectors of mirth
and Americana.

Colonel Wildfire proudly claims descent from the notorious Major Longbow—and, it must be said, he
does not bring disgrace upon that imaginary lineage. He draws as “long a bow” and with just as much
ease as any of his forebears. The marvels of American frontier life lose nothing in the telling at the
hands of Colonel Nimrod Wildfire of the Alligator Mountains, Kentucky. But to be fully appreciated, his
tales must be heard directly from his own lips.

His notions of personal accomplishments are characteristically outrageous and humorously exaggerated:
“He can leap higher, squat lower, dive deeper, remain longer down, and come up dryer than any other
man in Kentucky.” Moreover, he boasts, “He can whip his weight in wildcats; his father could whip the
best man in Kentucky, and he could whip his father.”

These extravagant points of excellence extend even to his ideals of female charm. He declares, with
supreme confidence, that his sweetheart can “leap a five-barred gate,” and encapsulates his admiration
with the succinct and rustic compliment: “Isn’t she a screamer?” He also quotes Shakespeare,
apparently with reverence, exclaiming afterward: “And wasn’t he a screamer!”

Steeped in American republicanism, Colonel Wildfire places himself above hereditary titles, boasting
instead: “I am a horse.”

Mr. Hackett’s performance was deservedly successful. He is an actor of considerable talent, combining
immense ease with sound judgment. His humor is rich, and he delivers it without undue effort or forced
effect. He was warmly received upon his entrance, and at the close of the piece, he was vociferously
called for from every part of the house. Mr. Hackett reappeared and announced that the piece would be
repeated on three occasions during the ensuing week.

Sun (London), “Covent-Garden Theatre,” March 11, 1833, p. 2.




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